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PROB 12C                                                                                  August 24, 2020
(06/17)                                                                                        pacts id: 6434501


                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                 SOUTHERN DISTRICT OF CALIFORNIA
                   Petition for Warrant or Summons for Offender Under Supervision


Name of Offender: Amanda Chree Carver (English)                            Dkt No.: 20CR00456-001-DMS
Reg. No.: 93761-298
Name of Sentencing Judicial Officer: The Honorable Dana M. Sabraw, U.S. District Judge
Original Offense: 18 U.S.C.§ 758, High Speed Flight from an Immigration Checkpoint, a Class C Felony
Date of Sentence: May 22, 2020

Sentence: Time Served (133 days’ custody), three years’ supervised release (Special Conditions: Refer to
Judgment and Commitment Order.)

Modification: None.

Type of Supervision: Supervised Release          Date Supervision Commenced: May 22, 2020
Asst. U.S. Atty.: DeNae Marie Thomas             Defense Counsel:     Paul A Barr
                                                                      (Appointed)
                                                                      (619) 234-8467

Prior Violation History: None.

                           PETITIONING THE COURT
TO ISSUE A NO-BAIL BENCH WARRANT
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PROB12(C)
Name of Offender: Amanda Chree CARVER                                                            August 24, 2020
Docket No.: 20CR00456-001-DMS                                                                             Page 2

The probation officer believes that the offender has violated the following condition(s) of supervision:
 CONDITION(S)                                      ALLEGATION(S) OF NONCOMPLIANCE
 (Special Condition)
 Reside in a Residential Reentry Center                1. On August 7, 2020, Ms. Amanda Carver failed to
 (RRC) as directed by the probation officer               report to the Residential Reentry Center (RRC) as
 for a period of up to 120 days (non-                     directed by the probation officer.
 punitive).

Grounds for Revocation: As to Allegation 1, on July 29, 2020, the undersigned contacted Ms. Carver
telephonically and she was given instructions to report to the RRC in Brawley, California, on August 7, 2020.
The undersigned was notified by email on August 8, 2020 by the RRC Facility Director that Ms. Carver failed to
report as directed.

 (Standard Condition)
 After initially reporting to the probation            2. On or about August 3, 10, and 17 2020, Ms. Amanda
 office, the defendant will receive                       Carver failed to report to the probation officer as
 instructions from the court or the probation             required.
 officer about how and when the defendant
 must report to the probation officer, and
 the defendant must report to the probation
 officer
 as instructed.

Grounds for Revocation: As to Allegation 2, on June 23, 2020, Ms. Carver was contacted telephonically and
given instructions by the probation officer to report by phone each week on Monday, and she failed to report as
instructed. The undersigned attempted to contact Ms. Carver on August 3, 2020, but she did not answer and
additional attempts to reach her have been unsuccessful. Her current whereabouts are unknown.
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PROB12(C)
Name of Offender: Amanda Chree CARVER                                                             August 24, 2020
Docket No.: 20CR00456-001-DMS                                                                              Page 3

                                 VIOLATION SENTENCING SUMMARY


SUPERVISION ADJUSTMENT
Ms. Carver commenced her term of supervised release on May 22, 2020. On May 26, 2020, Ms. Carver reported
by phone as required and reported she left San Diego, California to her proposed release address in Mesa, Arizona
to live with a friend. She was required to report to the probation office in Phoenix, Arizona, and reported as
directed. On May 26, 2020, an expedited request for courtesy supervision and transfer of supervision was sent to
the District of Arizona. On June 6, 2020, the request was denied by the District of Arizona based on Ms. Carver
not having significant residential ties to Arizona, and for having an active, non-extraditable warrant for a prior
case in Oregon.
A referral was sent for Ms. Carver to enter a Residential Re-Entry Center on June 10, 2020, and she was accepted
to the Brawley RRC with a report date of July 27, 2020. On July 24, 2020 Ms. Carver reported potential COVID19
symptoms and was required by the RRC to produce a negative COVID19 test prior to entering the facility. She
reported she was going to get tested on July 27, 2020 and her placement date for the RRC was changed to August
7, 2020 in order to give her time to receive her test results back.
On July 29, 2020 Ms. Carver was informed of her placement date changing to August 7, 2020. She was also
informed that the undersigned would be requesting a condition to require her to resolve her warrants in Oregon
and would be sending a Waiver of Hearing form for her to fill out once she arrives to the RRC.
On August 3, 2020, Ms. Carver did not report as directed to the probation officer. The undersigned attempted to
contact her but was unable to reach her. The undersigned attempted to contact her again on August 5, 2020 and
an email was sent directing her to contact this officer. A voicemail was left with Ms. Carver’s friend who she
moved to Mesa to live with as a final attempt to reach Ms. Carver. As of this date, the offender has not contacted
the probation officer. Given that she has made herself unavailable for supervision within the first few months of
her term of supervised release, her adjustment to supervision is deemed poor.
OFFENDER PERSONAL HISTORY/CHARACTERISTICS
Ms. Carver is 33 years old and was born and raised in Oregon. A presentence report was not prepared, and the
following information was gathered by the undersigned from a telephonic interview with Ms. Carver. She reported
that her mother abused drugs during her childhood and was rarely around and that her stepfather was physically
abusive. Ms. Carver was never married and does not have any children. She has a significant substance abuse
history, including experimenting with hallucinogens and ecstasy at age 21, daily marijuana use beginning at age
15, and daily methamphetamine use beginning at age 18 and has been involved in sex work to support her drug
habit. She also reported she started drinking alcohol at age 15, and at times would drink daily. Ms. Carver did not
report any significant health concerns.
Ms. Carver’s criminal history consists of a hit and run with property damage, first degree theft and unauthorized
use of a motor vehicle, several DUI charges, fourth degree assault, criminal trespassing, third degree theft,
harassment and fourth degree assault, second degree theft and prostitution, supplying contraband into prison,
possession of methamphetamine and heroin, possession of oxycodone, possession of methamphetamine with
intent to distribute, manufacturing methamphetamine, false identification to peace officers, assault on a public
safety officer, felon/addict in possession of a firearm, prohibited person in possession of ammunition, possession
of a large capacity magazine, possession of an assault weapon, possession of drug paraphernalia, and
transportation of a controlled substance, attempt to elude in a vehicle, and several charges of resisting arrest and
failure to appear.
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PROB12(C)
Name of Offender: Amanda Chree CARVER                                                            August 24, 2020
Docket No.: 20CR00456-001-DMS                                                                             Page 4

A criminal records check showed that she has an active warrant out of Medford, Oregon that was issued on August
22, 2019 for a failure to appear on a possession, delivery and manufacturing charge from 2019 and is only
extraditable in surrounding states.
SENTENCING OPTIONS
CUSTODY
Statutory Provisions: Upon the finding of a violation, the court may modify the conditions of supervision; extend
the term (if less than the maximum authorized term was previously imposed); or revoke the term of supervised
release. 18 U.S.C. § 3583(e)(2) and (3).
If the court revokes supervised release, the maximum term of imprisonment upon revocation is 24 months.
18 U.S.C. § 3583(e)(3).
USSG Provisions: The allegations (Failure to report to RRC, and Failure to report to probation officer) constitute
a Grade C violations. USSG §7B1.1(a)(3), p.s.
Upon a finding of a Grade C violation, the court may (A) revoke supervised release; or (B) extend the term and/or
modify the conditions of supervision. USSG §7B1.3(a)(2), p.s.
A Grade C violation with a Criminal History Category III (determined at the time of sentencing) establishes an
imprisonment range of 5 to 11 months. USSG § 7B1.4, p.s. It is noted that in the case of a Grade C violation,
and where the minimum term of imprisonment determined under USSG §7B1.4, p.s., is at least one month but
not more than six months, the minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a
sentence of imprisonment that includes a term of supervised release with a condition that substitutes community
confinement... for any portion of the minimum term. USSG §7B1.3(c)(1), p.s.
REIMPOSITION OF SUPERVISED RELEASE
If supervised release is revoked and the offender is required to serve a term of imprisonment, the court can
reimpose supervised release upon release from custody. The length of such a term shall not exceed the term of
supervised release authorized by statute for the offense that resulted in the original term of supervised release,
less any term of imprisonment imposed upon revocation. 18 U.S.C.§ 3583(h).
In this case, the court has the authority to reimpose a term of 36 month(s) supervised release, less any term of
imprisonment imposed upon revocation. 18 U.S.C. § 3583(b).
JUSTIFICATION FOR BENCH WARRANT
Ms. Carver’s whereabouts are unknown and attempts to contact her have been unsuccessful. A bench warrant is
deemed necessary to guarantee her appearance before the court.
RECOMMENDATION/JUSTIFICATION
Ms. Carver has demonstrated an unwillingness to cooperate with the conditions of her supervised release as she
has made herself unavailable for supervision. Should Your Honor sustain the allegations, it is recommended that
her supervised release be revoked. Given that this is her first alleged violation of supervised release, a low-end
custodial sentence of five months custody followed by twenty-eight months of supervised release is
recommended. All previously imposed conditions are recommended, with an additional condition to resolve all
outstanding warrants within sixty days, given that Ms. Carver has an outstanding warrant in Oregon that has yet
to be resolved.
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   PROB12CW                                                                                           August 24, 2020



                                       VIOLATION SENTENCING SUMMARY


1. Defendant: CARVER, Amanda Chree

2. Docket No. (Year-Sequence-Defendant No.): 20CR00456-001-DMS


3. List Each Violation and Determine the Applicable Grade (See USSG § 7B1.1):

                                                                                                  Grade
            Violation(s)
            Failure to report to RRC                                                              C
            Failure to report to probation officer                                                C




4. Most Serious Grade of Violation (See USSG § 7B1.1(b))                                          [    C     ]
5. Criminal History Category (See USSG § 7B1.4(a))                                                [   III    ]
6. Range of Imprisonment (See USSG § 7B1.4(a))                                          [   5 to 11 months ]


7. Unsatisfied Conditions of Original Sentence: List any restitution, fine, community confinement, home
   detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
   is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7B1.3(d)):

                  Restitution ($)                       Community Confinement
                  Fine($)                               Home Detention
                  Other                                 Intermittent Confinement
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